                              Case 19-11633-KG                       Doc 1        Filed 07/21/19         Page 1 of 24

Fill in this information to identify the case:

United States Bankruptcy Court for the:
                              District of Delaware
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/19
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Philadelphia Energy Solutions Refining and Marketing LLC


                                                 Philadelphia Energy Solutions
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          1735 Market Street, 11th Floor
                                          Number            Street                                    Number         Street


                                                                                                      P.O. Box

                                          Philadelphia, Pennsylvania 19103
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Philadelphia
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 http://pes-companies.com/

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:



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Debtor            Philadelphia Energy Solutions Refining and Marketing LLC                     Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            3241 (Petroleum and Coal Products Manufacturing)

8. Under which chapter of the               Check One:
   Bankruptcy Code is the
   debtor filing?                           ☐ Chapter 7

                                            ☐ Chapter 9

                                            ☒ Chapter 11. Check all that apply:

                                                              ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                4/01/22 and every 3 years after that).
                                                              ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                of operations, cash-flow statement, and federal income tax return, or if all of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              ☐ A plan is being filed with this petition.

                                                              ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).
                                                              ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                              ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            ☐ Chapter 12

9. Were prior bankruptcy cases         ☐ No
   filed by or against the debtor      ☒ Yes.      District    Delaware               When     01/21/2018        Case number     18-10122
   within the last 8 years?                                                                    MM/DD/YYYY
     If more than 2 cases, attach a                District                           When                       Case number
     separate list.                                                                            MM/DD/YYYY

10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                   Relationship    Affiliate
                                                   Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                       District    District of Delaware
     List all cases. If more than 1,                                                                              When           07/21/2019
     attach a separate list.                      Case number, if known _______________________                                  MM / DD / YYYY



     Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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 Debtor           Philadelphia Energy Solutions Refining and Marketing LLC                       Case number (if known)
           Name



 11. Why is the case filed in this       Check all that apply:
     district?
                                         ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.
                                         ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have         ☒ No
     possession of any real              ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                    ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                         safety.
                                                         What is the hazard?

                                                    ☐    It needs to be physically secured or protected from the weather.

                                                     ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).
                                                    ☐    Other


                                                    Where is the property?
                                                                                        Number          Street



                                                                                        City                                  State       Zip Code



                                                    Is the property insured?
                                                    ☐ No

                                                    ☐ Yes.    Insurance agency

                                                              Contact name
                                                              Phone




                         Statistical and administrative information

 13. Debtor's estimation of             Check one:
     available funds
                                        ☒ Funds will be available for distribution to unsecured creditors.1
                                        ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 14. Estimated number of                ☐     1-49                       ☒     1,000-5,000                        ☐    25,001-50,000
     creditors (on a                    ☐     50-99                      ☐     5,001-10,000                       ☐    50,001-100,000
     consolidated basis)                ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                        ☐     200-999



 15. Estimated assets (on a             ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
     consolidated basis)                ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☒   $1,000,000,001-$10 billion
                                        ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                        ☐     $500,001-$1 million        ☐     $100,000,001-$500 million           ☐   More than $50 billion



1.   Availability of funds to unsecured creditors is subject to ongoing discussions with the debtor’s secured creditors who, as of the date hereof, have
     not agreed to a recovery (other than $0) for such unsecured creditors.

     Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor           Philadelphia Energy Solutions Refining and Marketing LLC                         Case number (if known)
          Name




16. Estimated liabilities (on         ☐       $0-$50,000                  ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
    a consolidated basis)             ☐       $50,001-$100,000            ☐    $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                      ☐       $100,001-$500,000           ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                      ☐       $500,001-$1 million         ☐    $100,000,001-$500 million              ☐   More than $50 billion

                    Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                          I have been authorized to file this petition on behalf of the debtor.
                                          I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on            07/21/2019
                                                               MM/ DD / YYYY


                                               /s/ Jeffrey S. Stein                                               Jeffrey S. Stein
                                               Signature of authorized representative of debtor                Printed name

                                               Title    Authorized Signatory




18. Signature of attorney                     /s/ Laura Davis Jones                                           Date        07/21/2019
                                               Signature of attorney for debtor                                           MM/ DD/YYYY



                                               Laura Davis Jones
                                               Printed name
                                               Pachulski Stang Ziehl & Jones LLP
                                               Firm name
                                               919 North Market Street, 17th Floor
                                               Number                 Street
                                                                                                                                           19899-8705
                                               Wilmington                                                             Delaware             (Courier 19801)
                                               City                                                                   State               ZIP Code
                                               (302) 652-4100                                                         ljones@pszjlaw.com
                                               Contact phone                                                               Email address
                                               2436                                                Delaware
                                               Bar number                                          State




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
                             District of Delaware
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                            Chapter   11                                         amended filing

                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor
        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11 of the United States Code.
The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11
case of PES Holdings, LLC.
 PES Holdings, LLC
 North Yard GP, LLC
 North Yard Logistics, L.P.
 PES Administrative Services, LLC
 PES Energy Inc.
 PES Intermediate, LLC
 PES Ultimate Holdings, LLC
 Philadelphia Energy Solutions Refining and Marketing LLC
                  Case 19-11633-KG             Doc 1      Filed 07/21/19        Page 6 of 24



                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                          )
 In re:                                                   )     Chapter 11
                                                          )
 PHILADELPHIA ENERGY SOLUTIONS                            )     Case No. 19-[_____] (___)
 REFINING AND MARKETING LLC,                              )
                                                          )
                           Debtor.                        )
                                                          )

                                     CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the following are
corporations, other than a government unit, that directly or indirectly own 10% or more of any class of the debtor’s
equity interest:

                       Shareholder                                Approximate Percentage of Shares Held

 PES Holdings, LLC                                                                     100%
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    Fill in this information to identify the case:

    Debtor name          PES Holdings, LLC, et al.

    United States Bankruptcy Court for the:                               District of Delaware                                                     Check if this is an
    Case number (If known):                                                                 (State)                                                 amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                          12/15

        A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
        the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
        include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
        among the holders of the 50 largest unsecured claims.

                                                                                                                                                  Amount of claim
                                                                                                 Nature of claim                      If the claim is fully unsecured, fill in only
                                                                                                                                    unsecured claim amount. If claim is partially
                                                                                                  (for example,       Indicate if       secured, fill in total claim amount and
                                                          Name, telephone number and               trade debts,        claim is     deduction for value of collateral or setoff to
      Name of creditor and complete mailing
                                                            email address of creditor              bank loans,       contingent,              calculate unsecured claim.
           address, including zip code
                                                                    contact                        professional     unliquidated,
                                                                                                                                                 1Deduction
                                                                                                  services, and      or disputed      Total
                                                                                                                                                 for value of
                                                                                                   government                       claim, if                         Unsecured
                                                                                                                                                  collateral
                                                                                                    contracts)                      partially                           Claim
                                                                                                                                                   or setoff
                                                                                                                                    secured
                                                                                                                                                        [1]
                                                         MELENDY E. LOVETT
                                                         SENIOR VICE PRESIDENT AND
    TRINITY INDUSTRIES LEASING COMPANY
                                                         CHIEF FINANCIAL OFFICER
1   2525 STEMMONS FREEWAY                                                                        Trade Payable                                                      $4,078,864
                                                         PHONE: 586-285-1692
    DALLAS, TX 75207
                                                         EMAIL:
                                                         MELENDY.LOVETT@TRIN.NET
                                                         NATHAN D. GOLDMAN
                                                         EXECUTIVE VP AND CHIEF LEGAL
    CSX TRANSPORTATION INC
                                                         OFFICER
    500 WATER STREET
2                                                        PHONE: 904-359-3200                     Trade Payable                                                      $3,876,177
    15TH FLOOR
                                                         FAX: 904-359-2459
    JACKSONVILLE, FL 32202
                                                         EMAIL:
                                                         NATHAN_GOLDMAN@CSX.COM
                                                         JULIE PIGGOTT
    BNSF RAILWAY COMPANY                                 EXECUTIVE VICE PRESIDENT &
    920 SE QUINCY                                        CHIEF FINANCIAL OFFICER
3                                                                                                Trade Payable                                                      $3,482,198
    9TH FLOOR                                            PHONE: 817-698-8119
    TOPEKA, KS 66612-1116                                EMAIL:
                                                         JULIE.PIGGOTT@BNSF.COM
                                                         JIM MCHUGH
    CONSTELLATION NEW ENERGY INC
                                                         CEO
    100 CONSTELLATION WAY
4                                                        EMAIL:                                  Trade Payable                                                      $2,676,084
    SUITE 500
                                                         JIMMCHUGH@CONSTELLATION.
    BALTIMORE, MD 21202-6302
                                                         COM
                                                         GENERAL MANAGER
    ENVTECH INC
                                                         PHONE: 877-841-9690
5   300 EDISON WAY                                                                               Trade Payable                                                      $2,500,000
                                                         FAX: 775-856-3303
    RENO, NV 89502
                                                         EMAIL: INFO@ENVTECH.COM



           1   The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed herein.



           KE 62463605
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                                                                                                                             Amount of claim
                                                                             Nature of claim                     If the claim is fully unsecured, fill in only
                                                                                                               unsecured claim amount. If claim is partially
                                                                              (for example,      Indicate if       secured, fill in total claim amount and
                                               Name, telephone number and      trade debts,       claim is     deduction for value of collateral or setoff to
       Name of creditor and complete mailing
                                                 email address of creditor     bank loans,      contingent,              calculate unsecured claim.
            address, including zip code
                                                         contact               professional    unliquidated,
                                                                                                                            1Deduction
                                                                              services, and     or disputed      Total
                                                                                                                            for value of
                                                                               government                      claim, if                         Unsecured
                                                                                                                             collateral
                                                                                contracts)                     partially                           Claim
                                                                                                                              or setoff
                                                                                                               secured
                                                                                                                                   [1]
                                               SUSAN ALLAN
     OSG BULK SHIPS INC.                       VICE PRESIDENT, GENERAL
     TWO HARBOUR PLACE                         COUNSEL
6                                                                            Trade Payable                                                     $2,245,115
     302 KNIGHTS RUN AVENUE, SUITE 1200        PHONE: 813-209-0600
     TAMPA, FL 33602                           FAX: 813-221-2769
                                               EMAIL: SALLAN@OSG.COM
                                               PAUL DURHAM
     TSAKOS ENERGY NAVIGATION LTD
                                               CFO
     367 SYNGROU AVENUE
7                                              PHONE: +30210 94 07 710       Trade Payable                                                     $1,999,157
     ATHENS, 175 64
                                               FAX: +30210 94 07 716
     GREECE
                                               EMAIL: PDURHAM@TENN.GR
                                               BILL HAYES
     BRAND INSULATION SERVICES                 PRESIDENT & CEO
8    32 IRON SIDE COURT                        PHONE: 856-467-2850           Trade Payable                                                     $1,665,012
     WILLINGBORO, NJ 08046                     FAX: 770-514-0285
                                               EMAIL: INFO@BEIS.COM
                                               LORENZO SIMONELLI
                                               CEO
     BAKER HUGHESPO BOX 301057DALLAS, TX
9                                              EMAIL:                        Trade Payable                                                     $1,499,625
     75303-1057
                                               LORENZO.SIMONELLI@BAKERH
                                               UGHES.COM
                                               HUDSON LA FORCE
     WR GRACE & CO-CONN
                                               PRESIDENT AND CEO
10   7500 GRACE DRIVE                                                        Trade Payable                                                     $1,497,394
                                               PHONE: 410-531-4000
     COLUMBIA, MD 21044
                                               FAX: 410-531-4367
                                               JAMES J. WHITE, IV
                                               PRESIDENT & CEO
     J J WHITE INC
                                               PHONE: 215-722-1000
11   5500 BINGHAM STREET                                                     Trade Payable                                                     $1,021,287
                                               FAX: 215-745-6229
     PHILADELPHIA, PA 19120
                                               EMAIL:
                                               JWHITE@JJWHITEINC.COM
                                               JOSEPH COLELLA
     SUNOCO PARTNERS MARKETING & TERMINAL      SENIOR VP
     LP                                        PHONE: 866-248-4344
12                                                                           Trade Payable                                                      $748,363
     3801 WEST CHESTER PIKE                    EMAIL:
     NEWTON SQUARE, PA 19073                   JCOLELLA@SUNOCOLOGISTICS.C
                                               OM
                                               JOSEPH A. BLOUNT, JR.
     COLONIAL PIPELINE COMPANY                 PRESIDENT & CEO
     1185 SANCTUARY PARKWAY                    PHONE: 678-762-2200
13                                                                           Trade Payable                                                      $705,727
     SUITE 100                                 EMAIL:
     ALPHARETTA, GA 30009-4738                 COLONIALMEDIA@COLPIPE.CO
                                               M
     PECO ENERGY
                                               MICHAEL A. INNOCENZO
14   PO BOX 37629                                                            Trade Payable                                                      $683,314
                                               PRESIDENT & CEO
     PHILADELPHIA, PA 19101
                                               MATTHEW FLANNERY
     UNITED RENTALS (NORTH AMERICA)
                                               PRESIDENT & CEO
15   100 FIRST STAMFORD PLACE, SUITE 700                                     Trade Payable                                                      $673,286
                                               PHONE: 833-212-9458
     STAMFORD, CT 06902
                                               EMAIL: MFLANNER@UR.COM




                                                                         2
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                                                                                                                              Amount of claim
                                                                              Nature of claim                     If the claim is fully unsecured, fill in only
                                                                                                                unsecured claim amount. If claim is partially
                                                                               (for example,      Indicate if       secured, fill in total claim amount and
                                               Name, telephone number and       trade debts,       claim is     deduction for value of collateral or setoff to
       Name of creditor and complete mailing
                                                 email address of creditor      bank loans,      contingent,              calculate unsecured claim.
            address, including zip code
                                                         contact                professional    unliquidated,
                                                                                                                             1Deduction
                                                                               services, and     or disputed      Total
                                                                                                                             for value of
                                                                                government                      claim, if                         Unsecured
                                                                                                                              collateral
                                                                                 contracts)                     partially                           Claim
                                                                                                                               or setoff
                                                                                                                secured
                                                                                                                                    [1]
                                               STEPHEN M. ZEMAITATIS, JR.
                                               PRESIDENT
     RIGGS DISTLER & COMPANY                   PHONE: 856-433-6000
16   4 ESTERBROOK LANE                         FAX: 856-433-6035              Trade Payable                                                      $616,908
     CHERRY HILL, NJ 08003                     EMAIL:
                                               SZEMAITATISJR@RIGGSDISTLER.
                                               COM
                                               C. BOBBY WAID
                                               CEO
     CHARTER BROKERAGE LLC
                                               PHONE: 281-599-1252 EXT. 203
17   383 MAIN AVENUE, SUITE 400                                               Trade Payable                                                      $600,000
                                               EMAIL:
     NORWALK, CT 06851
                                               BWAID@CHARTERBROKERAGE.
                                               NET
                                               PAUL WINDHAM
     FISHER TANK COMPANY                       PRESIDENT & CEO
18   3131 W 4TH ST                             PHONE: 610-494-7200            Trade Payable                                                      $546,505
     CHESTER, PA 19013-1822                    EMAIL:
                                               PWINDHAM@FISHERTANK.COM
                                               FLORIAN SCHILLER
     MAN DIESEL & TURBO NORTH AMERICA
                                               CHIEF FINANCIAL OFFICER
19   1600A BRITTMOORE ROAD                                                    Trade Payable                                                      $521,825
                                               EMAIL:
     HOUSTON, TX 77043
                                               FLORIAN.SCHILLER@MAN.EU
                                               RICK BARTEL
     MUREX LLC
                                               CHIEF FINANCIAL OFFICER
20   5057 KELLER SPRINGS ROAD                                                 Trade Payable                                                      $521,000
                                               EMAIL:
     ADDISON, TX 75001
                                               RBARTEL@MUREXLTD.COM
                                               DENNIS KUBECK
     CHALMERS & KUBECK INC                     PRESIDENT
21   150 COMMERCE DRIVE                        PHONE: 610-494-4300            Trade Payable                                                      $496,195
     ASTON, PA 19014                           FAX: 610-485-1484
                                               EMAIL: DKUBECK@CANDK.COM
                                               RICKE C. FOSTER
                                               VICE PRESIDENT
     ANDERSON CONSTRUCTION SERVICES            PHONE: 215-331-7150
22   6958 TORRESDALE AVENUE STE 300            FAX: 215-332-8350              Trade Payable                                                      $486,794
     PHILADELPHIA, PA 19135                    EMAIL:
                                               RICKF@ANDERSONCONSTRUCTI
                                               ONSERV.COM
                                               MARKUS KLÄHN
                                               CEO
     BRENNTAG NORTHEAST INC                    PHONE: 610-926-6100
23   81 W. HULLER LANE                         FAX: 610-916-3782              Trade Payable                                                      $413,651
     READING, PA 19605                         EMAIL:
                                               BNEREADINGCS@BRENNTAG.C
                                               OM
                                               BERNIE WICKLEIN
     NOOTER CONSTRUCTION CO                    PRESIDENT
24   6 NESHAMINY INTERPLEX SUITE 300           PHONE: 215-638-7474            Trade Payable                                                      $405,366
     TREVOSE, PA 19053                         FAX: 215-638-8080
                                               EMAIL: SALES@NOOTER.COM




                                                                          3
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                                                                                                                             Amount of claim
                                                                             Nature of claim                     If the claim is fully unsecured, fill in only
                                                                                                               unsecured claim amount. If claim is partially
                                                                              (for example,      Indicate if       secured, fill in total claim amount and
                                               Name, telephone number and      trade debts,       claim is     deduction for value of collateral or setoff to
       Name of creditor and complete mailing
                                                 email address of creditor     bank loans,      contingent,              calculate unsecured claim.
            address, including zip code
                                                         contact               professional    unliquidated,
                                                                                                                            1Deduction
                                                                              services, and     or disputed      Total
                                                                                                                            for value of
                                                                               government                      claim, if                         Unsecured
                                                                                                                             collateral
                                                                                contracts)                     partially                           Claim
                                                                                                                              or setoff
                                                                                                               secured
                                                                                                                                   [1]
                                               BRIAN KELLY
     COLONIAL ENERGY, INC.
                                               EXECUTIVE VP
     3975 FAIR RIDGE DRIVE
25                                             EMAIL:                        Trade Payable                                                      $402,528
     SUITE T-10
                                               BKELLY@COLONIALGROUPINC.C
     FAIRFAX, VA 22033
                                               OM
                                               DAVID MICHELS
                                               VICE PRESIDENT AND CHIEF
     KINDER MORGAN LIQUID TERMINALS, LLC
                                               FINANCIAL OFFICER
     PO BOX 201607
26                                             PHONE: 713-420-4200           Trade Payable                                                      $357,632
     DEPT 3019
                                               EMAIL:
     DALLAS, TX 75320
                                               DAVID_MICHELS@KINDERMOR
                                               GAN.COM
                                               KEVIN S. CAVANAH
                                               CFO
     MATRIX SERVICE IND CONT INC
                                               PHONE: 918-838-8822
27   5100 E. SKELLY DR., STE. 100                                            Trade Payable                                                      $354,830
                                               EMAIL:
     TULSA, OK 74135-6577
                                               KCAVANAH@MATRIXSERVICECO
                                               MPANY.COM
                                               STEVE ZARNAS
     G C ZARNAS & COMPANY INC - PA
                                               OWNER & PRESIDENT
28   850 JENNINGS STREET                                                     Trade Payable                                                      $332,153
                                               PHONE: 610-866-0923
     BETHLEHEM, PA 18017
                                               FAX: 610-866-4065
                                               DANIEL COON
                                               VICE PRESIDENT & CFO
     ALLSTATE POWER VAC INC
                                               PHONE: 732-815-0220
29   928 EAST HAZELWOOD AVENUE                                               Trade Payable                                                      $300,520
                                               FAX: 732-815-9892
     RAHWAY, NJ 07065
                                               EMAIL:
                                               MARKETING@ACVENVIRO.COM
                                               KEVIN BELCHER
                                               PRESIDENT
     BELCHER ROOFING CORPORATION
                                               PHONE: 215-362-5400
30   111 COMMERCE DR.                                                        Trade Payable                                                      $288,681
                                               EMAIL:
     MONTGOMERYVILLE, PA 18936
                                               KBELCHER@BELCHERROOFING.
                                               COM
                                               DAVID JUKES
     UNIVAR USA INC                            PRESIDENT
31   3075 HIGHLAND PARKWAY SUITE 200           PHONE: 331-777-6000           Trade Payable                                                      $286,246
     DOWNERS GROVE, IL 60515                   EMAIL:
                                               DAVID.JUKES@UNIVAR.COM
                                               GARY BOHNSACK
     BUCKEYE PIPE LINE COMPANY, L.P.
                                               VICE PRESIDENT, CONTROLLER
     ONE GREENWAY PLAZA
32                                             & CHIEF ACCOUNTING OFFICER    Trade Payable                                                      $282,595
     SUITE 600
                                               EMAIL:
     HOUSTON, TX 77046
                                               GBOHNSACK@BUCKEYE.COM
                                               RANDY PEACH
     SCHECK MECHANICAL CORPORATION             PRESIDENT & CEO
33   ONE EAST OAK HILL DRIVE, SUITE 100        PHONE: 708-482-8100           Trade Payable                                                      $252,030
     WESTMONT, IL 60559                        EMAIL:
                                               RPEACH@GOSCHECK.COM
                                               JUAN R. LUCIANO
     ARCHER DANIELS MIDLAND COMPANY
                                               PRESIDENT
34   4666 FARIES PARKWAY                                                     Trade Payable                                                      $243,853
                                               PHONE: 217-424-5200
     DECATUR, IL 62526
                                               FAX: 217-424-5200



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                                                                                                                             Amount of claim
                                                                             Nature of claim                     If the claim is fully unsecured, fill in only
                                                                                                               unsecured claim amount. If claim is partially
                                                                              (for example,      Indicate if       secured, fill in total claim amount and
                                               Name, telephone number and      trade debts,       claim is     deduction for value of collateral or setoff to
       Name of creditor and complete mailing
                                                 email address of creditor     bank loans,      contingent,              calculate unsecured claim.
            address, including zip code
                                                         contact               professional    unliquidated,
                                                                                                                            1Deduction
                                                                              services, and     or disputed      Total
                                                                                                                            for value of
                                                                               government                      claim, if                         Unsecured
                                                                                                                             collateral
                                                                                contracts)                     partially                           Claim
                                                                                                                              or setoff
                                                                                                               secured
                                                                                                                                   [1]
                                               ROBERT MACLEOD
                                               CEO
     JOHNSON MATTHEY PROCESS
                                               PHONE: 912-748-0630
35   115 ELI WHITNEY BLVD                                                    Trade Payable                                                      $243,092
                                               EMAIL:
     SAVANNAH, GA 31408
                                               ROBERT.MACLEOD@MATTHEY.
                                               COM
                                               JOHN S. ALBRIGHT
     L M SERVICE CO INC                        PRESIDENT
36   6809 WESTFIELD AVENUE                     PHONE: 856-773-5110           Trade Payable                                                      $230,500
     PENNSAUKEN, NJ 08110-1527                 FAX: 856-773-5113
                                               EMAIL: JA@LMSERVICECO.COM
     TEAM INDUSTRIAL SERVICES INC              AMERINO GATTI
37   13131 DAIRY ASHFORD RD. STE. 600          CEO                           Trade Payable                                                      $221,047
     SUGAR LAND, TX 77478                      PHONE: 800-662-8326
                                               DAN SMITH
                                               CEO
     WATCO TRANSLOADING
                                               PHONE: 620-231-2230
38   315 W 3RD ST.                                                           Trade Payable                                                      $219,450
                                               EMAIL:
     PITTSBURG, KS 66762
                                               DSMITH@WATCOCOMPANIES.C
                                               OM
                                               DELMAR LAURY
                                               PRESIDENT, MID ATLANTIC
     ALLIED UNIVERSAL
                                               REGION
39   P. O. BOX 828854                                                        Trade Payable                                                      $219,026
                                               PHONE: 704-912-2406
     PHILADELPHIA, PA 19182-8854
                                               EMAIL:
                                               DELMARLAURY@AUS.COM
                                               C. DUFF HUGHES
     VANE LINE BUNKERING INC                   PRESIDENT
40   2100 FRANKFURST AVENUE                    PHONE: 410-631-4058           Trade Payable                                                      $215,044
     BALTIMORE, MD 21226-1026                  EMAIL:
                                               C.HUGHES@VANEBROS.COM
     NEREUS SHIPPING S.A.
                                               GENERAL MANAGER
     AKTI MIAOULI 35/39
                                               PHONE: 30-210-4292262
41   41                                                                      Trade Payable                                                      $210,292
                                               EMAIL:
     PIRAEUS, 185 36
                                               PIRAEUS@NEREUSHIP.GR
     GREECE
     DEVON PROPERTY SERVICES LLC
                                               GENERAL MANAGER
42   7 N WATERLOO ROAD                                                       Trade Payable                                                      $197,909
                                               PHONE: 610-999-8785
     DEVON, PA 19333
                                               ALAN MCKIN
                                               FOUNDER & CEO
     CLEAN HARBORS INDUSTRIAL SERVICES
                                               PHONE: 781-792-5000
43   42 LONGWATER DRIVE                                                      Trade Payable                                                      $193,899
                                               EMAIL:
     NORWELL, MA 02061-9149
                                               MCKIM.WILLIAM@CLEANHARB
                                               ORS.COM
     VEOLIA NORTH AMERICA REGENERATION         BILL DICROCE
     4760 WORLD HOUSTON PKWY                   PRESIDENT AND CEO
44                                                                           Trade Payable                                                      $193,149
     STE 100                                   EMAIL:
     HOUSTON, TX 77032                         BILL.DICROCE@VEOLIA.COM




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                                                                                                                             Amount of claim
                                                                             Nature of claim                     If the claim is fully unsecured, fill in only
                                                                                                               unsecured claim amount. If claim is partially
                                                                              (for example,      Indicate if       secured, fill in total claim amount and
                                               Name, telephone number and      trade debts,       claim is     deduction for value of collateral or setoff to
       Name of creditor and complete mailing
                                                 email address of creditor     bank loans,      contingent,              calculate unsecured claim.
            address, including zip code
                                                         contact               professional    unliquidated,
                                                                                                                            1Deduction
                                                                              services, and     or disputed      Total
                                                                                                                            for value of
                                                                               government                      claim, if                         Unsecured
                                                                                                                             collateral
                                                                                contracts)                     partially                           Claim
                                                                                                                              or setoff
                                                                                                               secured
                                                                                                                                   [1]
                                               RAY LÖFGREN
                                               PRESIDENT
     ATLAS COPCO RENTAL LLC
                                               PHONE: 800-736-8267
45   2306 S. BATTLEGROUND ROAD                                               Trade Payable                                                      $193,047
                                               EMAIL:
     LA PORTE, TX 77571
                                               RAY.LOFGREN@BE.ATLASCOPC
                                               O.COM
                                               ANNE T. MADDEN
                                               SVP AND GENERAL COUNSEL
     HONEYWELL                                 PHONE: 877-841-2840
46   101 COLUMBIA RD                           FAX: 973-455-4807             Trade Payable                                                      $189,401
     MORRISTOWN, NJ 07962                      EMAIL:
                                               ANNE.MADDEN@HONEYWELL.C
                                               OM
                                               CHRISTOPHER P. VINCZE
     TRC                                       CHAIRMAN AND CEO
47   PO BOX 536282                             PHONE: 518-371-0780           Trade Payable                                                      $166,950
     PITTSBURGH, PA 15253-5904                 EMAIL:
                                               CVINCZE@TRCSOLUTIONS.COM
                                               JOSH BAILEY
     ECO-ENERGY FUELING SOLUTIONS              CEO
48   6100 TOWER CIRCLE #500                    PHONE: 615-778-2898           Trade Payable                                                      $161,203
     FRANKLIN, TN 37067                        EMAIL: JOSHB@ECO-
                                               ENERGYINC.COM
                                               DAWN SEIFRIED
                                               VICE PRESIDENT & CHIEF
     PROCONEX
                                               FINANCIAL OFFICER
49   103 ENTERPRISE DR                                                       Trade Payable                                                      $158,323
                                               EMAIL:
     ROYERSFORD, PA 19468
                                               DAWN.SEIFRIED@PROCONEXDI
                                               RECT.COM
                                               DENNIS BERTOLOTTI
                                               PRESIDENT & CEO
     MISTRAS SERVICES                          PHONE: 609-716-4000
50   195 CLARKSVILLE ROAD                      FAX: 609-716-4179             Trade Payable                                                      $158,235
     PRINCETON JUNCTION, NJ 08550              EMAIL:
                                               DENNIS.BERTOLOTTI@MISTRAS
                                               GROUP.COM




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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                             )
    In re:                                                   )     Chapter 11
                                                             )
    PES HOLDINGS, LLC,                                       )     Case No. 19-___________(___)
                                                             )
                               Debtor.                       )
                                                             )


                                    CERTIFICATION OF CREDITOR MATRIX

          Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the United States
Bankruptcy Court for the District of Delaware, the above-captioned debtor and its affiliated debtors in possession
(collectively, the “Debtors”)2 hereby certify that the Creditor Matrix submitted herewith contains the names and
addresses of the Debtors’ creditors. To the best of the Debtors’ knowledge, the Creditor Matrix is complete, correct,
and consistent with Debtors’ books and records.

          The information contained herein is based upon a review of the Debtors’ books and records as of the petition
date. However, no comprehensive legal and/or factual investigations with regard to possible defenses to any claims
set forth in the Creditor Matrix have been completed. Therefore, the listing does not, and should not, be deemed to
constitute: (1) a waiver of any defense to any listed claims; (2) an acknowledgement of the allowability of any listed
claims; and/or (3) a waiver of any other right or legal position of the Debtors.




2      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: PES Holdings, LLC (8157); North Yard GP, LLC (5458); North Yard Logistics, L.P. (5952); PES
       Administrative Services, LLC (3022); PES Energy Inc. (0661); PES Intermediate, LLC (0074); PES Ultimate
       Holdings, LLC (6061); and Philadelphia Energy Solutions Refining and Marketing LLC (9574). The Debtors’
       service address is: 1735 Market Street, Philadelphia, Pennsylvania 19103.
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    Fill in this information to identify the case and this filing:

   Debtor Name          Philadelphia Energy Solutions Refining and Marketing LLC

   United States Bankruptcy Court for the:                                         District of Delaware
                                                                                                          (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                     List of Equity Security Holders, Corporate Ownership
            Statement, and Creditor Matrix



    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                       07/21/2019                                 /s/ Jeffrey S. Stein
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Jeffrey S. Stein
                                                                                 Printed name
                                                                                 Authorized Signatory
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                 PES ENERGY INC.
                             SECRETARY’S CERTIFICATE


                                        July 21, 2019

       The undersigned, John B. McShane, as Secretary of PES Energy Inc. (the “Company”),
hereby certifies as follows:

1.    I am the duly qualified and elected Secretary of the Company and, as such, I am familiar
      with the facts herein certified and I am duly authorized to certify the same on behalf of
      the Company.

2.    Attached hereto is a true, complete, and correct copy of the resolutions of the board of
      directors of the Company (collectively, the “Board”), duly adopted at a properly
      convened and joint meeting of the Board of July 21, 2019, in accordance with the bylaws
      of the Company.

3.    Since their adoption and execution, the Resolutions have not been modified, rescinded, or
      amended and are in full force and effect as of the date hereof, and the Resolutions are the
      only resolutions adopted by the Board relating to the authorization and ratification of all
      corporate actions taken in connection with the matters referred to therein.




                                   [Signature page follows]
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        IN WITNESS WHEREOF, I have hereunto set my hand on behalf of the Company as of
the date hereof.

                                                PES Energy Inc.



                                                By:    ______________________________
                                                Name: John B. McShane
                                                Title: Secretary




                      [Signature Page to Certification of Secretary]
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                                     RESOLUTIONS
                              OF THE BOARD OF DIRECTORS
                                         OF
                                   PES ENERGY INC.

        CHAPTER 11 FILING AUTHORIZATION, APPOINTMENT OF A
   CHIEF RESTRUCTURING OFFICER, AUTHORIZATION OF RETENTION OF
  PROFESSIONALS, AND APPROVAL OF DEBTOR-IN POSSESSION FINANCING

                                           July 21, 2019


      WHEREAS, the members of the board of directors (the “Board”) of PES Energy Inc.
(“PES Energy”) a Delaware corporation, acting on behalf of:

   1) the Corporation, in its own capacity and in its capacity as managing member of PES
      Ultimate Holdings, LLC, a Delaware limited liability company (“Ultimate Holdings”);
   2) Ultimate Holdings, in its own capacity and in its capacity as the managing member of
      (a) PES Intermediate, LLC, a Delaware limited liability company (“PES Intermediate”),
      and (b) PES Holdings, LLC, a Delaware limited liability company (“PES Holdings”);
   3) PES Holdings, in its own capacity and in its capacity as the managing member of
      (a) Philadelphia Energy Solutions Refining and Marketing LLC, a Delaware limited
      liability company (“PESRM”), and (b) North Yard GP, LLC, a Delaware limited liability
      company (“North Yard GP”);
   4) PESRM, in its own capacity and in its capacity as the managing member of PES
      Administrative Services, LLC, a Delaware limited liability company (“PES Admin”);
   5) North Yard GP, in its own capacity and in its capacity as the general partner of North Yard
      Logistics, L.P., a Delaware limited partnership (“North Yard” and together with Ultimate
      Holdings, PES Intermediate, PES Holdings, PESRM, PES Admin and North Yard GP,
      each a “Subsidiary” and collectively, the “Subsidiaries” and together with PES Energy,
      collectively, the “Companies”); and
   6) PES Intermediate, North Yard and PES Admin, each in its own capacity,
do hereby consent in writing, pursuant to Section 141(f) of the Delaware General Corporation Law
and (as applicable) the bylaws, limited liability company agreement, limited partnership
agreement, or similar document (in each case as amended or amended and restated to date) of each
Company (the “Governing Document”), to the taking of the following actions and the adoption of
the following recitals and resolutions, and to the waiver of all notices and the holding of a meeting
for the purpose of considering the same:
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CHAPTER 11 FILING

       WHEREAS, the Board has considered presentations by the management and the financial
and legal advisors of the Companies regarding the liabilities and liquidity situation of the
Companies, the strategic alternatives available to it and the effect of the foregoing on the
Companies’ business.

        WHEREAS, the Board has had the opportunity to consult with the management and the
financial and legal advisors of the Companies and fully consider each of the strategic alternatives
available to the Companies.

        RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
the Companies (including a consideration of their creditors and other parties in interest) that PES
Holdings and certain of its subsidiaries and affiliates identified on Annex A attached hereto
(collectively, the “Filing Companies”), shall be, and hereby are, authorized to file or cause to be
filed, voluntary petitions for relief for the Filing Companies (the “Chapter 11 Cases”) under the
provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in a court
of proper jurisdiction (the “Bankruptcy Court”) and any other petition for relief or recognition or
other order that may be desirable under applicable law in the United States; and

        RESOLVED, that the Chief Executive Officer, the President, the General Counsel, the
Chief Operating Officer, the Chief Financial Officer, any Senior Vice President, any Vice
President, any Assistant Vice President, or any other duly appointed officer of the Company
(collectively, the “Authorized Signatories” or “Authorized Officers”), acting alone or with one or
more other Authorized Signatories be, and they hereby are, authorized, empowered and directed
to execute and file on behalf of the Company all petitions, schedules, lists and other motions,
papers, or documents, and to take any and all action that they deem necessary or proper to obtain
such relief including without limitation, any action necessary to maintain the ordinary course
operation of the Company’s business.

APPOINTMENT OF CHIEF RESTRUCTURING OFFICER

        WHEREAS, on July 3, 2019, the Board established the Restructuring Committee
(the “Restructuring Committee”) to review strategic restructuring alternatives of the Companies,
propose such alternatives to the Board for consideration and approval, and, as approved and
directed by the Board, and implement those strategic restructuring initiatives;

       WHEREAS, the Companies has evaluated potential restructuring transactions;

       WHEREAS, the Restructuring Committee discussed the foregoing with the Companies’
Authorized Officers and representatives and the Companies’ legal, financial, and restructuring
advisors and has recommended to the Board that it is in the best interest of the Companies that the
Companies retain a Chief Restructuring Officer to address the potential restructuring of the Filing
Companies;

        NOW, THEREFORE, BE IT RESOLVED, that the Board hereby appoints Jeffrey S.
Stein (the “Executive”) as the Chief Restructuring Officer of the Filing Companies for the purpose
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of performing the duties and responsibilities of the Chief Restructuring Officer and such other
duties and responsibilities as may be determined by the Board to be reasonably related thereto;

       FURTHER RESOLVED, that the Chief Restructuring Officer shall have such authority
with respect to the Companies as is described in the Consulting Agreement, substantially in the
form annexed hereto as Annex 1, by and among PES Holdings and the Executive (the “Consulting
Agreement”), including to:

   a. identify and explore the Companies’ refinancing/restructuring options that are intended to
      be deleveraging and value accretive to the Companies;

   b. assess options to optimize the Companies’ capital structure;

   c. manage and implement the restructuring plan(s) of the Companies;

   d. explore and recommend asset acquisition(s), disposition(s), merger(s) or other strategic
      transaction(s);

   e. communicate and/or negotiate with outside constituents, including, but not limited to,
      lenders to the Companies;

   f. develop and implement cash management strategies and processes designed to enhance
      liquidity;

   g. review and analyze the revised business plan(s), including financial and operating budgets,
      provided by the Companies’ management;

   h. review and recommend changes that would enhance the efficiency and cost effectiveness
      of the Companies’ corporate organization;

   i. review the Companies’ business reporting systems and recommend changes to improve
      effectiveness; and

   j. provide such other similar services as may be requested by the Board,

       FURTHER RESOLVED, that entry into the Consulting Agreement is hereby approved,
and that the Authorized Signatories (and their designees and delegates), acting alone or with one
or more other Authorized Signatories, shall, and hereby are, authorized to enter into and execute,
on behalf of PES Holdings, the Consulting Agreement.

RETENTION OF PROFESSIONALS

       WHEREAS, the Board has considered presentations by the management and the financial
and legal advisors of each Company regarding the liabilities and liquidity situation of each
Company, the strategic alternatives available to it and the effect of the foregoing on each
Company’s business.
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        RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ the law firm of Kirkland & Ellis LLP and Kirkland & Ellis International
LLP (together, “Kirkland”) as general bankruptcy counsel to represent and assist the Companies
in carrying out their duties under the Bankruptcy Code, and to take any and all actions to advance
the Companies’ rights and obligations, including filing any motions, objections, replies,
applications, or pleadings; and in connection therewith, each of the Authorized Signatories, with
power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of Kirkland.

        RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ the law firm of Pachulski, Stang, Ziehl & Jones LLP (“PSZJ”) as local
bankruptcy counsel to represent and assist the Companies in carrying out their duties under the
Bankruptcy Code, and to take any and all actions to advance the Companies’ rights and obligations,
including filing any motions, objections, replies, applications, or pleadings; and in connection
therewith, each of the Authorized Signatories, with power of delegation, is hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed an appropriate application for authority to retain the services of PSZJ.

        RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ the firm of PJT Partners LP (“PJT”) as financial advisor to, among other
things, assist the Companies in evaluating their business and prospects, developing long-term
business plans, developing financial data for evaluation by the Board, creditors, or other third
parties, as requested by the Companies, evaluating the Companies’ capital structure, responding
to issues related to the Companies’ financial liquidity, and in any sale, reorganization, business
combination, or similar disposition of the Company’s assets; and in connection therewith, each of
the Authorized Signatories, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of PJT.

        RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ the firm of Alvarez & Marsal North America, LLC, together with
employees of its affiliates (all of which are wholly owned by its parent company and employees),
its wholly owned subsidiaries, and independent contractors (collectively, “A&M”), as
restructuring advisor to the Companies to represent and assist the Companies in carrying out their
duties under the Bankruptcy Code, and to take any and all actions to advance the Companies’
rights and obligations; and in connection therewith, each of the Authorized Signatories, with power
of delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to employ or
retain the services of A&M.

        RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ the firm of Omni Management Group, Inc. (“Omni”) as notice and claims
agent to represent and assist the Companies in carrying out their duties under the Bankruptcy Code,
and to take any and all actions to advance the Companies’ rights and obligations; and in connection
therewith, each of the Authorized Signatories, with power of delegation, is hereby authorized and
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directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed appropriate applications for authority to retain the services of Omni.

        RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ any other professionals to assist the Companies in carrying out their duties
under the Bankruptcy Code; and in connection therewith, each of the Authorized Signatories, with
power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application
for authority to retain the services of any other professionals as necessary.

        RESOLVED, that each of the Authorized Signatories be, and they hereby are, with power
of delegation, authorized, empowered and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
and to take and perform any and all further acts and deeds that each of the Authorized Signatories
deem necessary, proper, or desirable in connection with each Filing Company’s Chapter 11 Cases,
with a view to the successful prosecution of such case.

DEBTOR-IN-POSSESSION FINANCING, CASH COLLATERAL, AND ADEQUATE
PROTECTION

       WHEREAS, reference is made to that one or more certain debtor-in-possession credit
agreement (each, together with all exhibits, schedules, and annexes thereto, as amended, amended
and restated, supplement or otherwise modified from time to time, a “DIP Credit Agreement”)
dated as of, or about, the date hereof, that sets forth the terms and conditions of the debtor-in-
possession financing to be provided to the Filing Companies by the lenders listed therein (the “DIP
Lenders”)

        WHEREAS, based on such review, each Board believes the Filing Companies will obtain
benefits from the transactions contemplated by the DIP Credit Agreements; and

      WHEREAS, it is in the best interest of each Filing Company to enter into each agreement,
document, instrument, certificate, recording and filing relating thereto.

       NOW, THEREFORE, BE IT,

        RESOLVED, that the terms and provisions of the DIP Credit Agreements and such other
instruments, certificates, agreements and documents as may be reasonably requested by any
administrative agent thereunder or contemplated by the DIP Credit Agreements (collectively,
the “DIP Loan Documents”), substantially in the form presented to the Board, delivered pursuant
to the DIP Credit Agreements and each Filing Company’s performance of its obligations,
including any guarantees contemplated thereunder, and the grant of security under the DIP Loan
Documents, and to enter into each agreement, document, instrument, certificate, recording and
filing relating thereto, be, and hereby are, in all respects, ratified, approved, confirmed and
authorized.
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        RESOLVED, that each of the Authorized Signatories, acting alone or with one or more
other Authorized Signatories be, and hereby is, authorized and empowered to negotiate (including
to negotiate any terms of the DIP Credit Agreements which deviate from the terms set forth in the
form presented to the Board), make, execute, acknowledge, verify, issue, deliver, and to cause
each Filing Company to perform its obligations under, each of the DIP Loan Documents, and each
of the instruments, agreements and documents contemplated thereby, in the name and on behalf
of each Filing Company, under its corporate seal or otherwise, substantially as specified in the DIP
Credit Agreements, with such execution by said Authorized Signatory to constitute conclusive
evidence of his/her approval of the terms thereof, including any departures therein from the terms
as specified in the DIP Credit Agreements.

        RESOLVED, that each Board hereby authorizes the collateral agent under any DIP Credit
Agreement (each, a “Collateral Agent”) to file or record any financing statements, assignments for
security or other instruments, documents and agreements with respect to the Collateral
(contemplated by the DIP Credit Agreements) in the name of each Filing Company as may be
necessary or desirable to perfect the security interests granted to the Collateral Agents under the
DIP Loan Documents. The Collateral Agents are authorized to use the collateral description “all
assets of the Filing Company whether now owned or hereafter acquired” or any similar description
in any such financing statements.

        RESOLVED, that each of the Authorized Signatories be, and hereby is, authorized and
empowered to take all such further actions including, without limitation, to make all payments and
remittances and to incur all fees and expenses on behalf of each Filing Company in connection
with any transaction contemplated by these resolutions, such payment to conclusively evidence
the necessity or appropriateness thereof, to arrange for and enter into supplemental agreements,
amendments, instruments, certificates, agreements or documents relating to the transactions
contemplated by the DIP Credit Agreements or any of the other DIP Loan Documents and to
execute and deliver all such supplemental agreements, amendments, instruments, certificates or
documents in the name and on behalf of each Filing Company, under its corporate seal or
otherwise, which shall in their sole judgment be necessary, proper or advisable in order to perform
the Filing Company’s obligations under or in connection with the DIP Credit Agreements or any
of the other DIP Loan Documents and the transactions contemplated therein, and to carry out fully
the intent of the foregoing resolutions.

        RESOLVED, that the Authorized Signatories be and hereby are authorized and
empowered to take all actions or to not take any action in the name of each Filing Company with
respect to the transactions contemplated by these resolutions as the sole shareholder, partner,
member, or managing member of each direct subsidiary of any such Filing Company, in each case,
as such Authorized Signatory shall deem necessary or desirable in such Authorized Signatory’s
reasonable business judgment, including without limitation the authorization of resolutions and
agreements necessary to authorize the execution, delivery and performance pursuant to any DIP
Loan Document (including affidavits, financing statements, notices, reaffirmations and
amendments and restatements of existing documents) as may be necessary or convenient to
effectuate the purposes of the transactions contemplated herein.
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        RESOLVED, that, without in any way limiting the authority heretofore granted to the
officers of each Filing Company or that may have been otherwise conferred upon them, the officers
of each Filing Company be, and each hereby is, authorized and empowered, in the name and on
behalf of each Filing Company, to execute and deliver any and all documents, agreements and
instruments, to take any and all actions, and to do any and all things, they, and each of them
severally, may deem necessary or desirable in order to carry out the intent and purposes of the
foregoing resolutions.

        RESOLVED, that any and all actions taken by any officer or officers of each Filing
Company prior to the date of adoption of the foregoing resolutions, which would have been
authorized by the foregoing resolutions but for the fact that such actions were taken prior to such
date, be, and each hereby is, ratified, approved, confirmed and adopted as the duly ratified and
official act of each Filing Company.

GENERAL

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, each of the Authorized Signatories (and their designees and delegates) be,
and they hereby are, authorized and empowered, in the name of and on behalf of the Company to
take or cause to be taken any and all such other and further action, and to execute, acknowledge,
deliver and file any and all such agreements, certificates, instruments and other documents and to
pay all expenses, including but not limited to filing fees, in each case as in such Authorized
Signatory’s judgment, shall be necessary, advisable or desirable in order to fully carry out the
intent and accomplish the purposes of the resolutions adopted herein.

        RESOLVED, that the Board has received sufficient notice of the actions and transactions
relating to the matters contemplated by the foregoing resolutions, as may be required by the
organizational documents of the Company, or hereby waive any right to have received such notice.

        RESOLVED, that all acts, actions and transactions relating to the matters contemplated
by the foregoing resolutions done in the name of and on behalf of the Company, which acts would
have been approved by the foregoing resolutions except that such acts were taken before the
adoption of these resolutions, are hereby in all respects approved and ratified as the true acts and
deeds of the Company with the same force and effect as if each such act, transaction, agreement
or certificate has been specifically authorized in advance by resolution of the Board.

       RESOLVED, that each of the Authorized Signatories (and their designees and delegates)
be, and hereby is, authorized and empowered to take all actions or to not take any action in the
name of the Company with respect to the transactions contemplated by these resolutions
hereunder, as such Authorized Signatory shall deem necessary or desirable in such Authorized
Signatory’s reasonable business judgment to effectuate the purposes of the transactions
contemplated herein.

                                          * * * *
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                                     Annex A
                                Filing Companies

PES Holdings, LLC
PES Energy Inc.
PES Ultimate Holdings, LLC
PES Intermediate, LLC
Philadelphia Energy Solutions Refining and Marketing LLC
North Yard Logistics, L.P.
North Yard GP, LLC
PES Administrative Services, LLC
